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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 KIMBERLY HUDSON,                                §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §
                                                       Civil Action No. 4:20-cv-01039-O
                                                 §
 WESSON FOR SUPERVISOR 2020,                     §
                                                 §
         Defendant.                              §


                                              ORDER

        Before the Court is Plaintiff Kimberly Hudson’s Motion for Default Judgment and

Brief/Memorandum in Support (ECF Nos. 11–12), filed December 16, 2020.

        For the Court to enter a default judgment, it must assess the merits of the plaintiff’s claims

and the sufficiency of the complaint, accepting all well-pleaded facts as true. See Nishimatsu

Constr. Co. v. Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975) (“[A] defendant’s default

does not in itself warrant the court in entering a default judgment. There must be a sufficient basis

in the pleadings for the judgment entered.”); see also Ford Motor Credit Company LLC v.

Hancock, 2015 WL 13118076 at *3 (N.D. Tex. Mar. 16, 2015) (“Given their default, Defendants

have admitted the well-pleaded facts set forth in the complaint.”).

        According to Plaintiff’s Motion, all allegedly violative calls were made from February to

March 2020. See Pl.’s App. ¶ 3, ECF No. 12-1. Recently, some courts have questioned the

constitutionality of the entirety of the TCPA from 2015, when Congress amended to the TCPA to

add the government-debt-collection exemption, to 2020, when the Supreme Court prospectively

severed the unconstitutional exemption. See Barr v. Am. Ass’n of Pol. Consultants, Inc, 140 S. Ct.

2335 (2020); see, e.g., Creasy v. Charter Commc'ns, Inc., No. cv 20-1199, 2020 WL 5761117, at


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*1 (E.D. La. Sept. 28, 2020); cf. Trujillo v. Free Energy Sav. Co., LLC, No. 5:19-cv-02072-MCS-

SP, 2020 WL 8184336, at *1 (C.D. Cal. Dec. 21, 2020). In light of these developments, the Court

DIRECTS Plaintiff to file supplemental briefing on the issue of whether February and March 2020

calls may support a viable claim for relief under the TCPA. That briefing is due on or before

March 26, 2021.

       SO ORDERED on this 8th day of March, 2021.



                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE




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